Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 1 of 28

D. The Master Complaint

The named plaintiffs consist of nine individual Medicare Part B beneficiaries, four
ERISA-qualified employee benefit plans, and twenty-one associations, which together allege
payments for very few specific Medicare Part B drugs and no drugs outside of Medicare. With
respect to Part B drugs, plaintiffs allege generally that defendants “artificially inflated” the prices
provided to independent publishers by not reporting prices “reflect[ing] the actual pricing
structure of the drugs.” Cplt. § 159. According to plaintiffs, defendants “knew that actual
transaction price data — the amounts charged to providers and others for their drugs — was not
publicly available, and they kept this information (on which AWPs should have been calculated)
highly confidential and secret.” Cplt. § 136. Plaintiffs allege that defendants increased their
market shares by touting the “spread” between the amount paid by the doctors and the amount
reimbursed by Medicare as profit to the doctors. Cplt. 9] 159-161.

In paragraphs 166-172 of the Master Complaint, plaintiffs conclusorily allege that the
“AWP fraud strikes well beyond Medicare Part B, adversely impacting health plans and their
participants with respect to purchases” of hundreds of unnamed “brand name drugs.” Cplt. 9166.
(The defendants that manufacture only generic drugs are not included in these charges.)
According to plaintiffs, health plans also rely on AWP in setting reimbursement rates for
prescription drugs not covered by Medicare and sold through pharmacy benefit managers
(“PBMs”). “Just as” physicians are alleged to be “incentivized” by the spread provided under
the Medicare program, defendants are alleged to “incentivize PBMs to place the brand name
drugs with the highest-inflated AWPs on the PBMs’ formularies by marketing the spread”

between the PBM acquisition price and the amounts paid by health plans and HMOs. Cplt.

15

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 2 of 28

4171. Not a single example of this alleged practice is alleged anywhere in the 164-page Master
Complaint, and not one PBM, health plan, HMO, or “brand name drug” is identified.’

Plaintiffs seek to represent two separate classes — (1) those individuals and “entities” that
paid for a Part B drug (“Class 1”); and (2) “all Third-Party Payors” that contracted with a PBM
“or other intermediary” to offer “brand name prescription drugs” based on AWP (“Class 2”).
Cplt. § 333. Plaintiffs allege that they made co-payments or other payments “based on” the
published AWPs, and they seek to recover under RICO (Counts I-IV) and the consumer
protection statutes of eleven states (Count V). Plaintiffs also seek declaratory relief that “setting
stated reimbursement prices above the actual average wholesale price for” various drugs is
unlawful (Counts VI-VII). Cplt. §] 458-465.

ARGUMENT
Plaintiffs’ invitation to the Court to preempt the ongoing Congressional and regulatory

review of AWP-based reimbursement faces at least three insurmountable obstacles. First, in

view of the comprehensive public record and deliberate Medicare policy choices made by
Congress and HHS, the Court cannot find that it was fraud for published AWPs to be well above
provider acquisition cost. Second, plaintiffs’ four RICO claims fail because the injuries alleged
were not directly caused by defendants, the enterprise allegations are deficient, and the
allegations of fraud fail to satisfy Rule 9(b). Finally, the state law claims are preempted by the
Medicare Act and ERISA, and they also fail because fraud and proximate cause are not

adequately alleged.

3 Curiously, the unidentified PBMs are labeled “Defendants,” Cplt.  431(a)-(p), even
though none are named in the list of defendants. Cplt. ff] 51-130.

16

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 3 of 28

I. THIS CASE SHOULD BE DISMISSED BECAUSE THE COURT
CANNOT FIND FOR PLAINTIFFS WITHOUT REJECTING AND
REWRITING DELIBERATE MEDICARE POLICY CHOICES
MADE BY CONGRESS AND HHS.

Plaintiffs’ entire case is predicated on the basic contention that defendants were legally
required to report AWPs at the providers’ actual acquisition cost, or something close to that. See
Cplt. 7 4, 5, 136, 159, 169, 388, 415, 442, Thus, each and every fraud and consumer deception
claim in the Master Complaint flows from the core proposition that it was “fraud” to “report”
allegedly “inflated” AWPs to third-party publishing services. Accordingly, plaintiffs’ claims
necessarily depend entirely on the Court’s adoption of plaintiffs’ interpretation of the term
“A WP” as meaning the actual cost at which providers acquire drugs, or some close variant of
that. The Court cannot make this finding for two reasons.

A. Plaintiffs’ Assertion That AWP Approximates Actual Acquisition
Cost Fails As A Matter Of Law.

Accepting (as we must in this motion) plaintiffs’ unqualified allegation that virtually the
entire pharmaceutical industry reported AWPs that were significantly higher than actual
acquisition costs, such reporting could not have been fraudulent as a matter of law. Congress
and HHS fully understood when incorporating AWP into the Medicare reimbursement system
that the published AWPs for many drugs were significantly higher — and for some drugs several
times higher — than the actual cost to providers.

First, there is no support in the AWP regulation or the Medicare statute for plaintiffs’
interpretation of AWP as something akin to provider acquisition cost. Both HCFA and the GAO

have confirmed that the term AWP is not defined by statute or regulation. 4

i See 63 Fed. Reg. 58,849 (Nov. 2, 1998) (according to HCFA, “the law does not define
the term ‘average wholesale price.’”); Medicare Drug Reimbursements: A Broken System for
(continued. ..)

17

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 4 of 28

Second, HCFA knew that the term AWP referred to published prices that often
substantially exceeded provider acquisition costs when it adopted AWP as the Medicare
reimbursement benchmark in 1992. Indeed, HCFA adopted the AWP regulation specifically to
accommodate the concerns of doctors who argued that they needed a premium on drugs to offset
under-reimbursement for their professional services.

Third, Congress knew that published AWPs for many drug products substantially
exceeded actual acquisition costs when it later codified AWP as the reimbursement standard and
rebuffed repeated Administration proposals to change it. Congress knew this

e in 1997 when it rejected the Administration’s proposed “actual acquisition
cost” legislation and enacted the 95% of AWP standard;

e in 1998 and 1999, when it failed to adopt at least ten bills that would have
reduced Medicare drug reimbursement to actual acquisition cost or 83% of
AWP; and

e in 2000, when it passed BIPA to require HCFA to continue to use the
AWPs published in industry publications as the basis of Medicare drug
reimbursement.

Fourth, not only has Congress known that the published AWPs are often well above
actual cost, it has made clear that the system, flawed though it may be, should not be changed by
HHS or anyone else until certain competing Medicare policy issues are resolved. As of late
2002, Congress has yet to reconcile these important policy issues.

Lacking any support in the AWP regulation, the Medicare statute, or the legislative and

regulatory history, and given the undisputed public record recited in the Statement of the Case,

Patients and Taxpayers: Joint Hearing Before the Subcomm. on Health and the Subcomm. on
Oversights and Investigations of the House Comm. on Energy and Commerce, 107th Cong. 34
(Sept. 21, 2001) (GAO official testifies that AWP “is not defined in law or regulation so the
manufacturer is free to set an AWP at any level, regardless of the actual price paid by
purchasers.”) (Ex. 26).

18

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 5 of 28

the Court simply cannot find that AWP means anything close to provider acquisition cost or that
it was fraudulent to report prices that were higher (even much higher) than provider acquisition
costs,

B. Adopting Plaintiffs’ Interpretation Of AWP Would Impermissibly
Invade The Province Of The Legislative And Executive Branches.

In light of Congress’ explicit decision to leave the AWP-based reimbursement system in
place, the Court would exceed the limits of its jurisdiction and impermissibly invade the
province of the elected branches by requiring the reporting of prices at or near actual acquisition
cost. The Court cannot grant relief on any of plaintiffs’ claims unless it rewrites the
reimbursement rules that Congress and the Executive Branch put in place during the relevant
period.

Prudential limitations on the exercise of Article II jurisdiction dictate that federal courts
should not usurp congressional and executive branch policy choices when those governmental
institutions “may be more competent to address” the policies at issue. Warth v. Seldin, 422 U.S.
490, 499-500 (1975); ef Chevron U.S.A., Inc. vy. Natural Res. Def. Council, Inc., 467 U.S. 837,
866 (1984) (“[The] responsibilities for assessing the wisdom of such policy choices and
resolving the struggle between competing views of the public interest are not judicial ones.”’).
Congress 1s not only competent to decide what rate the government will pay for Medicare
covered drugs, it is currently engaged in heated debate over exactly this issue.

The doctrine of prudential abstention, as set forth in Warth and similar cases, is closely
related to the political question doctrine, for both articulate separation of powers considerations.
Of particular relevance to this case, “[t]he political question doctrine excludes from judicial
review those controversies which revolve around policy choices and value determinations

constitutionally committed for resolution to the halls of Congress or the confines of the

19

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 6 of 28

Executive Branch.” Japan Whaling Ass’n v. American Cetacean Soc’y, 478 U.S, 221, 230
(1986); see also Beacon Prods. Corp. y. Reagan, 633 F. Supp. 1191, 1194 (D. Mass. 1986)
(“The political question doctrine operates as a prudential limitation on the courts’ review of other
branches of government; it is ‘primarily a function of the separation of powers.’”). At bottom,
plaintiffs are trying through this litigation to change the Medicare reimbursement system by
asking the Court to adopt some undefined market-based pricing benchmark. Congress explicitly
barred HCFA from doing this after weighing the complex Medicare reimbursement and policy
issues involved, and clearly the Court should not second guess Congress’ judgment.

The decision in Stephenson v. Shalala, 87 F.3d 350 (9th Cir. 1996), demonstrates how
principles of judicial deference warrant dismissal of an action challenging Medicare
reimbursement standards. Plaintiffs in that case sought an order compelling HHS to enforce
their interpretation of a provision in the Medicare Act governing Part B reimbursement for
hospital services. See id. at 351-54. The Ninth Circuit dismissed the claims and “decline[d] the
beneficiaries’ invitation to preempt Congressional action in this very delicate area of public
policy.” Id. at 356. The Court listed three reasons for its deferral to Congress: (1) Medicare is
an “enormously complicated” regulatory scheme; (2) Congress had participated in creating the
reimbursement structure at issue; and (3) Congress was in the process of considering its own
changes to the system. /d. All of those factors are present here.

As in Stephenson, plaintiffs seek to modify a key component of the “enormously
complicated” Medicare drug reimbursement system. Jd. “The [Medicare] system is a web; a tug
at one strand pulls on every other,” and, challenges to the system are better left to Congress and
HHS to resolve. /d. This is particularly true in this case. If the Court redefines AWP as

plaintiffs ask, this “tug” at the Medicare system will impact a significant Medicare “strand’— the

20

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 7 of 28

amount at which providers are reimbursed, which in turn helps cover under-reimbursed costs for
physicians to treat patients in their offices. The Court should not venture into these complex
Medicare policy issues, particularly as there are no judicially manageable standards to guide the
Court in determining what the “correct” reimbursement levels should be. That is the province of
Congress and HHS to resolve.’

Il. PLAINTIFFS’ FOUR RICO CLAIMS SHOULD BE DISMISSED.

In Counts I-IV, plaintiffs seek to enforce their policy views on prescription drug
reimbursement through a federal racketeering case. The RICO claims should be dismissed
because (A) plaintiffs cannot demonstrate violations of the mail and wire fraud statutes, which
are the foundation for the RICO claims; (B) the plaintiffs’ injuries were not caused directly by
any conduct of the defendants; (C) the dozens of putative RICO enterprises fail as a matter of
law; and (D) the plaintiffs have failed to allege fraud with the particularity required by Rule 9(b).

A. The RICO Claims Fail Because There Was No Fraud.

Plaintiffs’ RICO claims are based on alleged predicate acts of mail and wire fraud. See
18 U.S.C. § 1341 (mail); 18 U.S.C. § 1343 (wire). Thus, without viable mail and wire fraud
allegations, there can be no claim under RICO. See Broderick v. Roache, 751 F. Supp. 290, 294
(D. Mass. 1990). The mail and wire fraud statutes require that each defendant knowingly and
willfully engage in a “scheme to defraud” using the interstate mails and wire communications in
furtherance of that scheme. See United States v. Cassiere, 4 F.3d 1006, 1011 (1st Cir, 1993).

Like common law fraud, mail and wire fraud requires deception “by means of false or fraudulent

Is Of course, if HHS does attempt to resolve the AWP issue with a rulemaking in 2002 or

2003, the agency’s actions may be subject to further congressional action and judicial review.

21

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 8 of 28

333

pretenses, representations, promises, or other deceptive conduct.’” Bonilla v. Volvo Car Corp.,
150 F.3d 62, 66 (1st Cir. 1998).

As noted, the mail and wire fraud allegations depend entirely on the notion that it was
fraud to submit pricing information to independent publishers that did not reflect providers’
acquisition cost or something close to that. As demonstrated in Part I, it could not have been
fraud to report prices that were above (even well above) “true market price” or “actual” provider
acquisition cost. No fraud claim can survive in the face of two decades of government

publications about what published AWPs meant.'®

B. The Plaintiffs Cannot Show That The Defendants Directly Caused
The Higher Drug Prices About Which They Complain.

The civil enforcement section of RICO provides a cause of action for persons injured in
their “business or property by reason of a [RICO] violation.” 18 U.S.C. § 1964(c) (emphasis
supplied). Citing this language, the Supreme Court has held that it is not enough for the conduct
at issue to be the “but for” cause of the injury; the violation must be the direct, proximate cause
as well. Holmes v. Securities Investor Prot. Corp., 503 U.S. 258, 265-66, 268 (1992); see
Camelio v. American Fed’n, 137 F.3d 666, 670 (1st Cir. 1998) (“merely proving that the alleged
predicate acts were a ‘cause in fact’ of plaintiff's injuries will not be sufficient.”). For this
reason, RICO plaintiffs may not recover if the causal connection is “too remote,” Holmes, 503
U.S. at 271; if the connection between the injury and the conduct is “insufficiently close,”
Camelio, 137 F.3d at 670; or if plaintiff's loss was caused more directly by an intervening party.

Willis v. Lipton, 947 F.2d 998, 1001 (Ist Cir. 1991). In this case, the Master Complaint

16 See, e.g., Associates in Adolescent Psychiatry, S.C. v. Home Life Ins. Co., 941 F.2d 561,
571 (7th Cir. 1991); Blount Fin. Servs., Inc. v. Walter E. Heller & Co., 819 F.2d 151, 153 (6th
Cir. 1987); Caraluzzi v. Prudential Secs., Inc., 824 F. Supp. 1206, 1212 (N.D. Tl. 1993).

22

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 9 of 28

demonstrates that plaintiffs’ alleged injury — higher drug prices than they would like — was not
caused directly by the alleged actions of the drug company defendants.

Unlike the typical civil RICO case, plaintiffs here are not alleged to have purchased
anything from defendants. Defendants sell their products to physicians, other medical providers
and wholesalers, not to Medicare beneficiaries. Cplt. (3, 4, 5, 132. At most, each plaintiff
made — or in the case of the entity plaintiffs had a member or an insured who made — a Medicare
co-payment to a physician for administering a drug that the physician allegedly purchased from
either a wholesaler or from a defendant. Thus, the Medicare beneficiary plaintiffs and benefit
plan plaintiffs are “indirect purchasers.” See J/linois Brick Co. v. Illinois, 431 U.S. 720, 726
(1977).!’ The law is clear that indirect purchasers may not recover under civil Rico,"*

In addition to plaintiffs’ status as indirect purchasers, there are three significant
intervening acts between their alleged injuries and the alleged acts of the defendants, making the

causal chain extraordinarily attenuated.

7 In fact, in one of the original AWP cases subsequently transferred to this Court, the

Medicare beneficiaries and employee benefit plan plaintiffs referred to themselves as indirect
purchasers. See Amended Class Action Complaint {J 16-17, Action Alliance of Senior Citizens
of Greater Philadelphia, et al., v. SmithKline Beecham Corp., No. 01-CV-5790 (E.D. Pa. Jan. 10,
2002).

18 See, e.g., McCarthy v. Recordex Serv., Inc., 80 F.3d 842, 848, 855 (3d Cir. 1996) (“The
precepts taught by //linois Brick... apply to RICO claims, thereby denying RICO standing to
indirect victims.”) (citation omitted); County of Oakland v. City of Detroit, 866 F.2d 839, 852
(6th Cir. 1989), cert. denied, 497 U.S. 1003 (1990); Sperber v. Boesky, 849 F.2d 60, 65 (2d Cir.
1988); Carter v. Berger, 777 F.2d 1173, 1175 (7th Cir. 1985) (indirect purchaser principles
“should apply to RICO cases, not the least because the damages provision in [civil RICO] is
practically verbatim the damages provision in the antitrust laws.”); Kaiser v. Stewart, 965 F.
Supp. 684, 688 (E.D. Pa. 1997) (“Indirect purchasers cannot recover money damages under
either [civil RICO or the antitrust laws].”); David B. Smith & Terrance G. Reed, Civil RICO

§ 6.04(4)(a)(it) (2001) (“One antitrust standing limitation that has been applied to RICO claims
is the direct purchaser limitation.”).

23

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 10 of 28

First, plaintiffs do not allege that defendants made a single misrepresentation to them.
They allege, instead, that defendants made misrepresentations — in the form of inflated AWPs —
to third-party price reporting services. Cplt. ff 134-36. Medicare and other payors, according to
plaintiffs, then relied on the reported prices, which allegedly caused reimbursements and co-
payments to be inflated, which caused injury to plaintiffs.

Second, under Medicare it is the prescribing doctor (or other provider), not the drug

company, who sets the charge for drugs she administers and who submits claims for reimburse-
ment to the Medicare carrier. Cplt. 9 133. The prescribing doctor may set her “actual charge” at
any level, including a level below AWP. See 42 C.F.R. § 405.517(b) (Ex. 30) (total Medicare

reimbursement is “the lower of the actual charge on the Medicare claim for benefits or 95% of

the national average wholesale price”) (emphasis added). When the doctor charges less than
95% of AWP, the beneficiary simply pays a co-payment equal to 20% of the doctor’s “actual
charge,” not a higher co-payment amount that is based in any way on AWP. The provider’s
charging decision is therefore a critical intervening cause of plaintiffs’ alleged injuries.

Third, and perhaps most significantly, it was Congress (in the case of Medicare) and the
health plans (outside of Medicare, i.e., with respect to Class 2) that chose to base drug
reimbursement on AWP. Congress has always been free to base drug reimbursement amounts
on something other than AWP — as it has done with respect to every federal program other than
Medicare. Furthermore, Congress could have required no co-payment or it could have required a
flat fee rather than a percentage of total reimbursement. Moreover, the health plans in Class 2
had unfettered discretion to base reimbursement on any non-AWP fee schedule or pricing system

of their choosing. Thus the choices made by Congress and health plans to rely on AWPs were

24

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 11 of 28

the most fundamental “cause” of any injury to plaintiffs, and those choices were made without
any involvement by any defendant.

These significant, independent, intervening causal events between defendant’s alleged
misreporting of AWPs and the amounts plaintiffs paid for drugs doom plaintiffs’ RICO claim.
Numerous cases hold that RICO claims may not be founded upon alleged misrepresentations
when the plaintiff's injury stems from the intervening acts of others.'”

Cc. Plaintiffs Do Not Allege A Viable RICO Enterprise.

“The central role” of the RICO enterprise, the Seventh Circuit has noted, “cannot be
overstated. It is precisely the criminal infiltration and manipulation of organizational structures
that created the problems which led to the passage of RICO.” United States v. Neapolitan, 791
F.2d 489, 500 (7th Cir.), cert. denied, 479 U.S. 940 (1986). Recognizing the primacy of the
enterprise requirement, plaintiffs present a dizzying array of putative RICO enterprises.

Each of the four RICO counts relies in part on a “Third Party Payor Enterprise” theory, in
which each of the plaintiff employee benefit plans “constituted a separate RICO ‘enterprise.””
Cplt. 9 351, 378, 405, 432. In addition, plaintiffs assert a variety of association in fact
enterprises. In Count I, advanced on behalf of those who paid for Medicare Part B drugs
(Class 1), plaintiffs allege a series of “A WP Enterprises,” in which each defendant drug

manufacturer is alleged to “associate in fact” with “various and independent” unnamed medical

19 See, e.g. Eli Lilly & Co. v. Roussel Corp., 23 F. Supp.2d 460, 485 (D.N.J. 1998)
(dismissing RICO claims where injuries result from “many intervening acts and causes” other
than defendants’ alleged misrepresentations); Barr Labs., Inc. v. Quantum Pharmics, Inc., 827

F. Supp. 111, 113-16 (E.D.N.Y. 1993) (same); Lifschultz Fast Freight, Inc. v. Consol.
Freightways Corp., 805 F. Supp. 1277, 1291 (D.S.C. 1992) (rejecting RICO claim for lost profits
based on alleged price-setting conspiracy because “[a]ny harm from the alleged conspiracy
would be purely contingent on how the rate bureaus and the ICC acted based on the alleged
predicate acts and then the customers’ taking action based on the ICC action.”), aff'd 998 F.2d
1009 (4th Cir.), cert. denied, 510 U.S. 993 (1993),

25

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 12 of 28

providers. Cplt. J] 346-50. In Count II, also asserted on behalf of Class 1, plaintiffs allege a
“Publisher Enterprise” theory, consisting of separate associations in fact of “the various
Publishers that reported AWPs for [Medicare] Covered Drugs” and each defendant. Cplt.

99 375-77. The Publisher Enterprise theory is also alleged in Count II, advanced on behalf of
the Class 2 plaintiffs against various brand name prescription drug manufacturers. Cplt.

{7 402-04. In Count IV, also asserted on behalf of the Class 2 plaintiffs against the brand name
prescription drug defendants, the plaintiffs allege a “PBM Enterprise” theory, consisting of
multiple association in fact enterprises of each brand name company and various pharmacy
benefit managers (“PBMs”) that “administered purchases” of the drugs manufactured by these
defendants and “billed its members” for those products. Cplt. § 429-31.

By defendants’ count, these various theories present no fewer than 79 different
enterprises. But the RICO enterprise requirement is not an invitation to offer up “alternative”
enterprise theories in the hope that one might support a valid RICO claim.”” Thus, several courts
have rejected RICO claims founded upon “alternative” enterprise theories.*' As one coutt
observed, “The court cannot conceive of preparing a defense against these varied counts with
their conclusory allegations of literally hundreds of possible [RICO] enterprises.” Olympia
Brewing Co. Secs. Litig., No. 77-C-1206, 1984 WL 2140, at *7 (N.D. Ill. Dec. 18, 1984).
Likewise, the RICO claims in this case plead so many enterprises that they strain credulity. And —

as demonstrated below, each enterprise theory fails as a matter of law.

20 See A. Mathews, et al., Civil RICO Litigation § 6.05, at 6-70 (2d ed. 1992) (“plaintiffs’
search for an acceptable enterprise [sometimes] results in presenting a confusing array of
alternative enterprise allegations, under the theory that the more seeds that are sown, the more
likely it is that one will ultimately bear fruit.”).

al See, e.g., Jennings v. Emry, 910 F.2d 1434, 1439-40 (7th Cir. 1990); Old Time Enters.,
Inc. v. Int'l Coffee Corp., 862 F.2d 1213, 1219 (5th Cir. 1989).

26

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 13 of 28

1. The Asserted “Associations in Fact” Did Not Function As A
“Continuing Unit” Or With A “Common Purpose.”

Three of plaintiffs’ enterprise theories allege “association in fact” enterprises — the AWP,
PBM, and Publisher Enterprise theories. The Supreme Court has held that an association in fact
enterprise must be “an ongoing organization” whose members “function as a continuing unit”
and are “associated together for a common purpose of engaging in a course of conduct.” United
States v. Turkette, 452 U.S. 576, 583 (1981). An association in fact enterprise must also have an
existence “separate and apart from” the alleged pattern of racketeering activity. Jd. A plaintiff
must show that that the associated groups “constitute a larger unit, over and above their separate
structures and operations.” Libertad v. Welch, 53 F.3d 428, 442 (1st Cir. 1995). Thus, an
association in fact enterprise must be a tightly organized unit with a defined hierarchy in which
all members work in concert to achieve a common objective. None of plaintiffs’ association in
fact enterprises satisfy these criteria.

a. The AWP Enterprises

The AWP Enterprises are remarkably disparate groupings of each drug company
defendant and the numerous unnamed physicians who prescribed that company’s Medicare
product(s). Cplt. 4346. For example, the “Pfizer-Provider Enterprise” is an association in fact
“consisting of the various and independent medical providers who prescribed Covered Drugs for
which Pfizer reported an AWP, and Pfizer.” Jd. 9 350(q). Likewise, the “AstraZeneca Provider
Enterprise” includes the company and the physicians who prescribed Zoladex and perhaps other
products ~ ie., many of the nation’s urologists. Jd. 4 350(c). Each of these enterprises likely
includes thousands of physicians around the country.

There is no set of facts under which such a large group could coalesce into a structured,

organized, and hierarchical enterprise. Indeed, complaints alleging such vast and far-flung

27

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 14 of 28

enterprises are routinely dismissed.** Moreover, plaintiffs do not even allege that the AWP
Enterprises have the requisite unified leadership and decision-making hierarchy. See Libertad,
53 F.3d at 443 (dismissing RICO claims based on association in fact enterprise theory because
claims did not specifically allege facts demonstrating a common purpose or structure); Simon v.
Behavioral Health, 208 F.3d at 1073, 1083 (9th Cir. 2000) (holding that at a minimum enterprise
must have some sort of decision-making structure).””

The lack of any structure, organization, or common purpose is particularly obvious
where, as here, the thousands of members of each enterprise are unknown to one another. Their
only connection and common link is that they are doctors and they prescribed a particular
company’s drugs. This type of “hub” (drug company) and “spoke” (the doctors) association in

fact fails as a matter of law.’ Likewise, several cases have explicitly rejected the notion that

22 See, e.g., Simon v. Behavioral Health, 208 F.3d 1073, 1080-84 (9th Cir. 2000)

(dismissing RICO claim where the alleged enterprise consisted of approximately 1,600 insurance
companies, agents, trade groups, employee benefit plans, employers, and government entities
that were alleged to have conspired to withhold benefits to patients); Blue Cross & Blue Shield of
Alabama v. Caremark, Inc., No. 98-C-1285, 1999 WL 966434, at *8 (N.D. IIL. Sept. 30, 1999)
(dismissing RICO claim because plaintiffs enterprise allegations “fail to allege how this large
and geographically diverse group of almost 3,000 independent physicians and entities acted in
concert with one another” or had any ongoing structure).

°3 Another problem with the AWP Enterprise theory is that many physicians are part of

multiple enterprises. Under plaintiffs’ theory, a physician who prescribed product A would be in
Company A’s AWP Enterprise whereas if she prescribed product B, she would also be in
Company B’s AWP Enterprise. Thus, in the course of a business day, an oncologist who
prescribed multiple Medicare-eligible products would find herself part of several different RICO
enterprises, including enterprises in competition with each other. This cannot be taken seriously.

a4 See, e.g., New York Auto. Ins. Plan v. All Purpose Agency & Brokerage, Inc., No. 97 Civ.

3164 (KTD), 1998 WL 695869, at *5 (S.D.N.Y. Oct. 6, 1998) (alleged “hub and spoke”
conspiracy ...isnot...a RICO enterprise.”); First Nationwide Bank v. Gelt Funding Corp.,
820 I. Supp. 89, 98 (S.D.N.Y. 1993) (finding alleged enterprise insufficient where defendant
mortgage broker was “the ‘hub,’ and the various borrower defendants were the ‘spokes’”), aff'd
27 F.3d 763 (2d Cir. 1994).

28

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 15 of 28

members of an association in fact enterprise share the requisite common purpose merely by
participating in a particular industry or through a connection to a particular party or defendant.”°

b. The Publisher Enterprises

The same infirmities fatally infect the Publisher Enterprises which consist of each
defendant and “various Publishers that reported AWPs” for that company’s Medicare-eligible
drug products. Cplt. 9375. Plaintiffs do not allege how a drug company and independent
businesses that publish pricing information had a defined hierarchy or structure. Nor is it
credible that these publishers had such a defined hierarchy and structure with more than thirty
separate drug companies. The “common purpose” that allegedly binds these entities together is
the “selling, purchasing, and administering” of Medicare drugs. Jd. 9.375, 402. As noted, the
courts require a far more tightly defined common purpose than participation in a common
business venture like the reporting of drug prices. See, e.g., SmithKline Beecham, 62 F. Supp.2d
at 553, Indeed, it is well settled that an enterprise cannot consist merely of two separate entities

engaged in a common business venture.”°

* See, e.g., Caremark, 1999 WL 966434, at *8 (rejecting enterprise where “diverse group

of almost 3,000 independent physicians and entities” lacked any common purpose); Blue Cross
of California v. SmithKline Beecham Clinical Labs, Inc., 62 F. Supp.2d 544, 552 (D. Conn.
1998) (rejecting “Billing Network” enterprise consisting of thousands of doctors and medical
providers whose only connection was to defendant); Gel/, 820 F. Supp. at 98 (rejecting
“Borrower Enterprise” because allegations that “disparate parties were associated in fact by
virtue of their involvement in the real estate industry in the 1980s are insufficient to sustain a
RICO claim”); see also In re SmithKline Beecham Clinical Labs., Inc. Lab. Test Billing
Practices Litig., 108 F. Supp.2d 84, 97 (D. Conn. 1999) (dismissing amended RICO complaint
because “Laboratory Network” of 75-80 laboratories around the country did not share
sufficiently specific common purpose).

*6 See Feinstein v. Resolution Trust Corp., 942 F.2d 34, 41 n.7 (1st Cir. 1991) (banks and
individuals engaged in the buying and selling of real estate did not constitute an enterprise
because this theory fails to articulate how the defendants “comprised part on an ‘ongoing
organization’ or ‘function[ed] as a continuing unit.’”) (quoting Turkette, 452 U.S. at 583); see
also VanDenBroeck v. Commonpoint Mortgage Co., 210 F.3d 696, 700 (6th Cir. 2000) (holding
(continued...)

29

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 16 of 28

Cc. The PBM Enterprises

Plaintiffs’ PBM Enterprise theory, which consists of each defendant that manufactures
brand named drugs and various unnamed PBMs that administered the prescription drug benefits
for various unnamed health plans, is plainly deficient. Plaintiffs do not even identify the PBM
members of any of these putative enterprises, much less explain how the alleged enterprises
could have displayed an ongoing structure, defined hierarchy or tightly defined common
purpose. Nor would any such allegation be credible. The common purpose alleged — “selling,
purchasing, and administering brand name drugs” — is again far too broad to satisfy the common
purpose requirements imposed by Turkette. See SmithKline Beecham, 62 F. Supp.2d at 553.

2. The Third Party Payor Enterprise Theory Fails Because The

Defendant Drug Manufacturers Did Not Participate In The
“Operation or Management” Of These Independent Entities.

All four RICO claims also rely on the Third Party Payor enterprise theory, in which each
plaintiff employee benefit plan constitutes a single entity enterprise whose affairs are alleged to
have been separately conducted by each defendant through inflated AWPs. Cplt. [ 359, 386,
413, 440. Under Section 1962(c) of RICO, on which plaintiffs rely, a defendant must “conduct
or participate” in the “affairs” of a distinct enterprise. 18 U.S.C. § 1962(c). The Supreme Court
has held that, to “conduct or participate” in the affairs of an enterprise, a defendant must

participate in its “operation or management.” Reeves v. Ernst & Young, 507 U.S. 170, 185

the defendant lender's relationship with the numerous secondary lenders to which it sold
customer loans to be “too unstable and fluid an entity to constitute a RICO enterprise”);
Manhattan Telecomm. Corp. v. DialAmerica Mktg., Inc., 156 F. Supp.2d 376, 384 (S.D.N.Y.
2001) (dismissing RICO claims for lack of adequate allegations that defendants and their
customers functioned as a continuing unit); Moll v. U.S. Life Title Ins. Co., 654 F. Supp. 1012,
1032 (S.D.N.Y. 1987) (collection of attorneys, abstractors, and others engaged in real estate
transactions did not constitute a RICO enterprise because there was no “continuity of structure or
personnel”).

30

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 17 of 28

(1993), The Court adopted its “operation or management” test to ensure that only persons that
“exert control” or “direction” over the enterprise would be liable under the RICO statute. Jd. at
178, 184. As one district court has noted, “the [Reeves] ‘operation and management’ test... is a
very difficult test to satisfy.” LaSalle Nat'l Bank v. Duff & Phielps Credit Rating Co., 951 F.
Supp. 1071, 1090 (S.D.N.Y. 1996).

It is especially difficult to satisfy the “operation or management” test when — as here —
each defendant is a “complete outsider” to the enterprise. Reeves, 507 U.S. at 185. Indeed, as
this Court has recognized, one of the only ways a “complete outsider” company could ever
“operate or manage” another company would be if it were to “exert control” over that company
by bribery or other covert means. Bowdoin Constr. Corp. vy. R.I. Hosp. Nat'l Bank, N.A., 869 F.
Supp. 1004, 1009 (D. Mass. 1994) (Saris, J.). Put differently, “[a]bsent the involvement of an
insider, it is difficult to conceive of conduct victimizing the enterprise as being participation in
the conduct of its affairs.” See A. Mathews, et al., Civil RICO Litigation § 7.03[A][2], at 7-57
(2d ed. 1992).

For this reason, it is not enough to allege that a defendant had a “business relationship”
with the enterprise, “perform[ed] services” for the enterprise, or even victimized the enterprise.
Goren v. New Vision Int'l, Inc., 156 F.3d 721, 727-28 (7th Cir. 1998). “[N]ot even action
involving some degree of decisionmaking constitutes participation in the affairs of the
enterprise.” Univ. of Md. v. Peat, Marwick, Main & Co., 996 F.2d 1534, 1538-39 (3d Cir. 1993),
Under Reeves, association with an enterprise does not suffice; only actual control over an
enterprise will permit liability.

The Third Party Payor enterprise theory cannot succeed because it is predicated on an

absurd notion — that more than thirty separate drug companies all “controlled” the operations of

31

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 18 of 28

independent employee benefit plans. Plaintiffs do not allege that a single defendant exercised
control over each Third-Party Payor, much less that all the defendants did. Nor is there any
allegation that any defendant co-opted any “insider” within any Third Party Payor.”’ Absent
these allegations, the Third Party Payor Enterprise theory fails as a matter of law.

D. The Master Complaint Fails To Allege Fraud With The Particularity
Required By Rule 9(b).

The RICO claims also should be dismissed because plaintiffs’ fraud allegations fail to
satisfy the heightened pleading requirements of Fed. R. Civ. P. 9(b). It is well-established that
Rule 9(b) applies to civil RICO claims based on mail and wire fraud. See Feinstein v. Resolution
Trust Corp., 942 F.2d 34, 42 (1st Cir. 1991). The numerous Rule 9(b) deficiencies of the Master
Complaint as to particular defendants are discussed in the memoranda filed by individual
defendants. This memorandum discusses the pleading deficiencies of the Class 2 allegations
against defendants that manufacture brand named drugs and the global allegations concerning
drug samples and physician inducements.

1. The Class 2 Allegations Are Plainly Deficient.

Plaintiffs’ most egregious generality is the sweeping allegation that defendants’ alleged
AWP fraud strikes “well beyond” the few Medicare Part B drugs that are identified in the Master
Complaint. This allegation involves an entirely different group of drugs (hundreds, if not
thousands of unidentified “brand name” drugs) sold in an entirely different way (through
unidentified PBMs and “other intermediaries”), and paid for by an entirely different putative

class (the hundreds, if not thousands, of separate health insurance plans that pay for prescription

27 Accordingly, this case is not like Aetna Cas. Sur. Co. v. P & B Autobody, 43 F.3d 1546,
1559-60 (1st Cir. 1994), where the Court of Appeals found that defendant outsiders participated
in the operation or management of Aetna by co-opting, bribing, and co-conspiring with Aetna
appraisers. There is no such allegation in this case.

32

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 19 of 28

drugs not covered by Medicare). Cplt. {9 166-72; 333. Class 2 purports to include more than
200 million Americans who purchase their prescriptions through PBMs. Cplt. 170.

The supposed “factual” basis for these sweeping allegations is contained in a few
paragraphs of conclusory statements concerning how the “Defendant Drug Manufacturers”
allegedly “marketed the spread” between the price at which PBMs allegedly pay for drugs and
the allegedly “inflated” AWP rate at which health insurance plans allegedly chose to reimburse.
Cplt. [| 166-72. Yet the following critical allegations about this sweeping new kind of “A WP

fraud,” are entirely absent:

e the identity of a single “brand name drug” manufactured by a single one of
the multiple defendants that are subject to these allegations;

e identification of a single “brand name drug” that was allegedly paid for by
a single one of the multiple named plaintiffs;

e the identity of a single PBM or “other intermediary” through which any
defendant allegedly perpetrated this vast and sweeping alleged fraud, let
alone allegations about the particulars of any such PBMs’ involvement;

e asingle specific allegation about how any defendant allegedly “inflated” a
brand name drug’s “A WP,” or how a defendant allegedly “marketed the
spread” to a PBM;

e asingle specific allegation about any statement that any defendant made to
any other party, let alone particulars about the time, place and manner of a
single act or statement that constitutes the alleged “AWP fraud;” and

e asingle specific allegation about how a single health insurance plan or
other third party payor, including any of the named plaintiffs, was
allegedly affected, let alone damaged, by this alleged scheme, let alone by
the particular fraudulent acts of a particular defendant.
Without these very basic allegations, defendants have no idea what the “Class 2” “brand name”

PBM claims are all about, let alone how to begin to mount a factual defense. Accordingly, all of

the Class 2 claims should be dismissed.

33

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 20 of 28

2. The Allegations Pertaining To Improper Drug Samples And
Physician Inducements Are Devoid Of Particulars.

The few allegations about improper “drug samples” and physician “inducements” also
violate Rule 9(b). With respect to drug samples, plaintiffs allege generally that (1) “defendants”
provided free samples of unspecified drugs to providers (which in and of itself is commonplace,
of immense clinical and therapeutic value, and perfectly legal), (2) that “defendants” allegedly
provided such unspecified samples “as a means of lowering the price,” and (3) that “defendants”
“specifically told providers to bill Plaintiffs and the members of the Class for the free samples,
which Defendants knew was unlawful.” Cplt. { 162. These general allegations make no
distinction between the legitimate provision of drug samples and specific instances in which
samples were allegedly used as part of an “AWP Fraud” scheme. Moreover, although plaintiffs
rely heavily on the criminal plea entered by TAP Pharmaceuticals to charges under the
Prescription Drug Marketing Act ~ not RICO — that TAP encouraged physicians to bill for free
samples, it is insufficient under Rule 9(b) simply to allege in conclusory fashion that any other
defendant ~ let alone “Defendants” (plural) — also told physicians to bill for free samples,”®

The Master Complaint further contains a sweeping general allegation that “Defendant
Drug Manufacturers also have provided and/or arranged for many other non-public financial
inducements to stimulate sales of their Covered Drugs” such as “volume discounts, rebates, off-
invoice pricing, free goods, credit memos, consulting fees, debt forgiveness and grants.” Cplt.
4165. This kind of all-inclusive allegation — entirely devoid of particulars as to which defendant

was involved and what any defendant allegedly did, let alone any “time, place and manner”

28 TAP was dismissed from this action on November 12, 2002, by stipulation. Through a

motion to strike, a number of defendants seek to have the allegations about TAP stricken from
the Master Complaint.

34

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 21 of 28

allegations — is plainly insufficient. Rule 9(b) requires a plaintiff to connect specific allegations

of fraud to each individual defendant and prohibits a plaintiff from merely grouping some or all

defendants together in its fraud claim. See, e.g., Luce v. Edelstein, 802 F.2d 49, 54 (2d Cir.
1986). The failure of particularity is made even more egregious when plaintiffs combine
allegations that are not directed at any identified defendant with sweeping and unparticularized
allegations about a laundry list of alleged kinds of “inducements,” again without particular

: 2
examples or specifics.”’

I. PLAINTIFFS’ STATE LAW CLAIMS ARE PREEMPTED.

In Count V, plaintiffs allege claims under the unfair and deceptive practices statutes of
eleven different states. To the extent individuals or entities that paid for prescription drugs
through the Medicare program seek to recover those monies under these state statutes, those
claims are preempted by the Medicare Act and its regulations. To the extent individuals
(including Medicare beneficiaries) or entities that paid for prescription drug costs through an
ERISA plan seek to recover those monies under the state statutes, those claims are preempted by

ERISA.”

” Plaintiffs’ failure to plead the elements of a § 1962(c) claim dooms their RICO

conspiracy claim in Count I. 18 U.S.C. § 1962(d). See Miranda v. Ponce Fed. Bank, 948 F.2d
41, 45 n.4 (Ist Cir. 1991) (§ 1962(d) claim alleging conspiracy to violate § 1962(c) cannot be
sustained when underlying § 1962(c) claim is invalid). Plaintiffs’ conspiracy claim also fails
because they have failed to allege that defendants “knowingly joined a conspiracy to violate

§ 1962(c),” Aetna Cas. Sur., 43 F.3d at 1562, or to allege the circumstances surrounding the
conspiracy. See Doyle v. Hasbro, Inc., 103 F.3d 186, 190 (1st Cir, 1996) (affirming dismissal of
RICO claim where complaint set forth conclusory allegations that the conspiracy existed).
Accordingly, the § 1962(d) claim in Count I should be dismissed.

%0 Plaintiffs’ state law claims should be dismissed for the reasons set forth in Point I, supra.

If and when the Court needs to reach the complex Medicare and ERISA preemption issues
summarized herein, defendants respectfully suggest that further briefing would be warranted and
helpful.

35

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 22 of 28

A. The Medicare Act And Regulations Preempt Plaintiffs’ State Law Claims.

Under the Supremacy Clause, a state law that conflicts with federal law is preempted.
U.S. Const. art. VI, cl. 2. Absent express preemptive language from Congress, the Supreme
Court has recognized two types of implied preemption: (a) “field” preemption; and (b)
“conflicts” preemption. Gade v. Nat'l Solid Wastes Mgmt. Assoc., 505 U.S. 88, 98 (1992); see
Massachusetts Assoc. of Health Maint. Orgs. v. Ruthardt, 194 F.3d 176, 179 (1st Cir. 1999).

The state law claims of the Class 1 plaintiffs are preempted by the Medicare Act on both
grounds.

Congress’ intent to preempt state law may be inferred under the doctrine of field
preemption where “[the] scheme of federal regulation [is] so pervasive as to make reasonable the
inference that Congress left no room for the States to supplement it.” Fidelity Fed. Sav. & Loan
Ass’nv, De La Cuesta, 458 U.S. 141, 153 (1982). In this case, plaintiffs seek to have state law
determine how much Medicare should have paid providers and, consequently, how much
plaintiffs’ co-payments should have been. Congress, however, has completely occupied the field
of Medicare drug reimbursement through pervasive, extensive and detailed statutes and
regulations.

The Medicare Act provides that the determination of the amount of benefits payable
under Part B shall be made by the Secretary. See 42 U.S.C. § 1395ff(a). The extensive statutory
and regulatory framework for drug reimbursement is set forth in the Statement of the Case,
supra. Moreover, Congress in 2000 passed BIPA to prohibit HCFA from changing this system
of reimbursement. This pervasive statutory and regulatory framework, and Congress’ decision to
require Medicare to pay based on AWPs in industry publications, demonstrate a Congressional
intent to occupy the field of drug reimbursement for Medicare beneficiaries. Indeed, when

Congress passed BIPA to prevent HCFA from recasting AWP to more closely approximate

36

«

&

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 23 of 28

actual prices paid, Congress surely did not want fifty states’ varying laws to determine a drug's
AWP. In similar situations, courts have held that the Medicare statute and regulations preempt
state law causes of action.?' Accordingly, plaintiffs’ state law claims are preempted under the
theory of field preemption.

Even where Congress has not supplanted state law in a specific field, state law is
preempted, under the doctrine of conflicts preemption, “‘to the extent that it actually conflicts
with federal law.” Fidelity, 458 U.S. at 153. In enacting BIPA, Congress intentionally created
and maintained a system in which the AWPs published in industry compendia provide the
benchmark for Medicare payment, despite the fact that those AWPs often substantially exceed
the price paid by providers. In this case, plaintiffs are asking the Court under state laws —
potentially fifty of them — to substitute different AWPs. This aim clearly conflicts with BIPA.”

B. ERISA Preempts The State Law Claims Of The ERISA Plan

Plaintiffs And The Individual Plaintiffs Whose Co-Payments
Were Made By An ERISA Plan.

Plaintiff employee benefit plans (the “Third-Party Payors”’) are each alleged to be an
ERISA plan “entitled to bring suit in its own name pursuant to” ERISA. Cplt. 99 23-26. The

state law claims of these ERISA plan plaintiffs (as they relate to both the Class 1 and Class 2

3! See, e.g., Congress of California Seniors v. Catholic Healthcare West, 87 Cal. App. 4th

491, 493 (2001) (“the field of Medicare provider cost reporting and reimbursement is so fully
and completely occupied by federal law .. . that there remains no room for state action.”’); see
also Ruthardt, 194 F.3d at 179-85 (Massachusetts law requiring Medicare supplemental insurers
to offer unlimited outpatient prescription drug coverage was preempted because Congress
intended to create an exclusive federal regulatory scheme for prescription drug coverage).

#2 This case is distinguishable from Massachusetts Medical Soc’y v. Dukakis, 815 F.2d 790
(1st Cir. 1987), where the court held that a state statute forbidding doctors from charging
Medicare beneficiaries more than the “reasonable charges” allowed by Medicare was not
preempted. The state statute in that case had no bearing on how much the Medicare program
paid; it dealt solely with how much additional money physicians could collect from their
patients. Here, plaintiffs’ state law claims directly implicate how much the Medicare program
pays and therefore are preempted.

37

>

k

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 24 of 28

claims) and the state law claims of any Class 1 Medicare beneficiary plaintiff whose co-payment
was made by an ERISA plan are preempted by ERISA.
ERISA specifically provides that it “shall supersede any and all State laws insofar as they

may now or hereafter relate to any employee benefit plan.” 29 U.S.C. § 1144(a) (emphasis

added). Because the words “relate to” are intended to apply in their broadest sense,’ ERISA
preemption extends to any state cause of action that has a “connection or reference to” an ERISA
plan. Central States, S.E. & S.W. Welfare Fund v. Neurobehavioral Assocs., 53 F.3d 172, 174
(7th Cir. 1995). There are several respects in which plaintiffs’ state law claims meet this test.

First, the state law claims concern the determination of the correct amount of benefits
under the ERISA plans, which is “a central matter of plan administration” and a “core ERISA
concern.” Egelhoff'v. Egelhoff, 532 U.S. 141, 148 (2001). The state law claims directly
implicate the requirement that ERISA plans “specify the basis on which payments are made to
and from the plan.” 29 U.S.C. § 1102(b)(4).

Second, the “court's inquiry must be directed to the plan” to resolve the claim. /ngersoll-
Rand Co. v. McClendon, 498 U.S. 133, 139-40 (1990). Under federal law, each ERISA-qualified
plan must issue a “summary plan description,” 29 U.S.C.§ 1022(a), which is considered part of
the ERISA plan, See Barker v. Ceridian Corp., 122 F.3d 628 (8th Cir. 1997). The summary
plan description “shall” contain information about “eligibility for participation and benefits.”

29 U.S.C. § 1022(b). Department of Labor regulations further provide that the summary plan

' description “shall include a description of: any cost-sharing provisions, including premiums,

deductibles, coinsurance, and copayment amounts for which the participant or beneficiary will be

3 See Shaw v. Delta Air Lines, Inc., 463 U.S. 85, 98 (1983); Hampers v. W.R. Grace & Co.,
Inc., 202 F.3d 44, 49 (1st Cir. 2000).

38

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 25 of 28

responsible .. . [and] whether, and under what circumstances, existing and new drugs are

covered under the plan[.]” 29 C.F.R. § 2520.102-3()(3) (2002) (emphasis added).

Consistent with these requirements, the ERISA plans and related plan documents of the
Third Party Payor plaintiffs (and the plans that paid the co-payments for the Medicare
beneficiaries) will contain provisions about the conditions under which prescription drugs may
be covered and the extent to which co-payments and deductibles may apply for such coverage.
These plans will determine, for example, if reimbursement for prescription drugs for a particular
employer is based on AWP, provider acquisition cost, or some other formulation entirely, such
as a negotiated discount for the particular product, which is common in the industry.
Alternatively, some of these plans may provide that a participant need pay only a flat fee for
particular product, rather than a percentage of some calculated rate, whether based on AWP or
not. In sum, these plans will determine which drugs are covered and the criteria for coverage
and payment. Because the court will inevitably need to consult the terms of the ERISA plans to
determine whether and how certain plaintiffs were injured, the state law claims are preempted.**

Third, the state law claims are preempted because they interfere with ERISA’s objective
of nationally uniform plan administration. See Fort Halifax Packing Co. y. Coyne, 482 U.S. 1,9
(1987). If the laws of fifty states were to determine how much ERISA plans should pay fora
drug with a given AWP (when that ERISA plan pays based on AWP), then ERISA plan
administrators would be subject to fifty different standards as they administer ERISA plans. In

addition, beneficiaries of the very same ERISA plan who happen to live in different states would

a See Harris v. Harvard Pilgrim Health Care, Inc., 208 F.3d 274, 281 (1st Cir. 2000)
(“ERISA will be found to preempt state-law claims if the trier of fact necessarily would be
required to consult the ERISA plan to resolve the plaintiff's claims.”); Carlo v. Reed Rolled
Thread Die Co., 49 F.3d 790 (1st Cir. 1995) (same); Vartanian v. Monsanto Co., 14 F.3d 697
(1st Cir. 1994) (same).

39

eats

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 26 of 28

be entitled to different benefits as a result of varying state law. This interferes with the ERISA
objective of nationally uniform plan administration and benefits determinations. See id.

The state law claims of the ERISA plans and ERISA plan participants in this case are
similar to those found to be preempted in other cases where such parties sought to recover
alleged overpayments.” Accordingly, these claims should be dismissed.*°

CONCLUSION
For the reasons stated above, the Master Consolidated Class Action Complaint

should be dismissed.

Respectfully submitted,
ON BEHALF OF THE FOLLOWING
LISTED DEFENDANTS

[Original signature on file with the Court]

By: Lillak Se
Nicholas C. Theodorou (BBO # 496730)
Juliet S. Sorensen (BBO # 647255)
FOLEY HOAG LLP
155 Seaport Boulevard
Boston, MA 02110
(617) 832-1000

38 See Central States, 53 F.3d at 174; Kentucky Laborers Dist. Council Health and Welfare

Fund v. Hope, 861 F.2d 1003, 1005 (6th Cir. 1988); In re SmithKline Beecham Clinical
Laboratories, Inc. Lab, Test Billing Practices Litig., 108 F. Supp.2d at 109-12; Davis v.
SmithKline Beecham Clinical Laboratories, Inc., 993 F. Supp. 897, 899 (E.D. Pa. 1998).

36 In addition to being preempted, plaintiffs’ state law claims also fail for many of the same

reasons as their RICO claims — failure adequately to plead either fraud or proximate causation.

40

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 27 of 28

ABBOTT LABORATORIES

AMGEN INC.

ASTRAZENECA PHARMACEUTICALS L.P.

AVENTIS BEHRING, LLC

AVENTIS PHARMACEUTICALS, INC.; HOECHST MARION ROUSSEL, INC.
BAXTER INTERNATIONAL, INC.; BAXTER HEALTHCARE CORPORATION
BAYER CORP.

BOEHRINGER INGELHEIM CORP.; BEN VENUE LABORATORIES, INC.
DEY, INC.

FUJISAWA HEALTHCARE, INC.; FUJISAWA U.S.A., INC.

SMITHKLINE BEECHAM CORPORATION, D/B/A GLAXOSMITHKLINE
HOFFMANN -LA ROCHE INC,

IMMUNEX CORPORATION

JOHNSON & JOHNSON; CENTOCOR, INC.; ORTHO BIOTECH PRODUCTS, LLP
MERCK & CO., INC.

PFIZER, INC.

PHARMACIA CORPORATION; PHARMACIA & UPJOHN, INC.

SCHERING-PLOUGH CORPORATION; WARRICK PHARMACEUTICALS
CORPORATION

SICOR INC.; GENSIA, INC.; GENSIA SICOR PHARMACEUTICALS, INC.

WATSON PHARMA, INC,

Dated: November 25, 2002

4]

XY Ge «x

Case 1:01-cv-12257-PBS Document 258-3 Filed 11/25/02 Page 28 of 28

CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing Consolidated Memorandum in
Support of Defendants’ Motion to Dismiss The Master Consolidated Class Action Complaint and
the Revised Appendix of Exhibits was delivered to all counsel of record by electronic service
pursuant to Paragraph 11 of Case Management Order No. 2, by sending on November 25, 2002,
a copy to Verilaw Technologies for posting and notification to all parties.

—_~

of OF
LL: Didi St
Juliet S. Sorensen

42

